  'n       Case 3:16-cr-02509-L              Document 57         Filed 12/05/16             PageID.124          Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                                    V.                              (FOR OFFENSES COMMITTED ON OR AFTER
          BRAULIO ADEMIR ARIAS-TORRES (3)
                                                                    ~~~~;~.                 l6cF~~9-Lil-
                                                                    SANDRA RESNICK i
                                                                    Defendant's Attorney                       DEC er "B1t
REGISTRATION NO.                    58039298
D -
THE DEFENDANT:
~      pleaded guilty to count(s)         TWO (2) OF THE INFORMATION

D      was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                      Natnre of Offense                                                               Numberfs)
8:1324(a)(1)(A)(i) and               BRINGING IN ALIENS AND AIDING AND ABETTING                                         2
(v)(II)




    The defendant is sentenced as provided in pages 2 through                  2           of this judgment.
The sentence is hnposed pursuant to the Sentencing Reform Act of 1984.

D      The defendant has been found not guilty on count(s)

D      Count(s)
                  --------------------- is                                dismissed on the motion of the United States.

       Assessment: $100
~



~   No fine                D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    December 5. 2016



                                                                                  .
                                                                    Date of Imposition of Sentence



                                                                   i-~
                                                                        UDSTA1ES~GE
                                                                           .   . JAMEifoRENZ




                                                                                                                       16CR2509-L
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 AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

     DEFENDANT:               BRAULIO ADEMIR ARIAS-TORRES (3)                                          Judgment - Page 2 of 2
     CASE NUMBER:             l6CR2509-L

                                                     IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
     SIXTY (60) DAYS




     o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
     o     The court makes the fOllowing recommendations to the Bureau of Prisons:




     o     The defendant is remanded to the custody of the United States Marshal.

     o     The defendant shall surrender to the United States Marshal for this district:
           o at _ _ _ _ _ _ _ _ A.M.                          on _____________________________________

           o    as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of
     o     Prisons:
           o     on or before
            o    as notified by the United States Marshal.
            o    as notified by the Probation or Pretrial Services Office.

                                                           RETURN
     I have executed this judgment as follows:

           Defendant delivered on   _________________________ to _______________________________

     at ______________________ , with a certified copy of this judgment.


                                                                     UNITED STATES MARSHAL



                                         By                     DEPUTY UNITED STATES MARSHAL




                                                                                                               16CR2509-L
